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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
EMR/MEF/PP                                           610 Federal Plaza
F. #2023R00737                                       Central Islip, New York 11722



                                                     December 3, 2024

By ECF and E-Mail

The Honorable Lee G. Dunst
United States Magistrate Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re:    United States v. Matthew Smith
                      Criminal Docket No. 24-423 (NJC)

Dear Judge Dunst:

               The government submits this letter in advance of the defendant Matthew Smith’s
arraignment, which is scheduled for today, December 3, 2024 at noon, to update the Court as to
the procedural history of this case and the government’s position regarding detention.

                 On October 17, 2024, a grand jury sitting in the Eastern District of New York
returned the above-captioned indictment charging the defendant, Michael Jeffries (“Jeffries”)
and James Jacobson with one count of sex trafficking, in violation of 18 U.S.C. § 1591, and 15
counts of interstate prostitution, in violation of 18 U.S.C. § 2422(a) (the “Indictment”). ECF
Dkt. No. 1. On October 22, 2024, the government submitted a letter in support of the
defendant’s detention, citing inter alia his status as a citizen of the United Kingdom. ECF Dkt.
No. 9 at 7. Later that same day, the defendant was arrested and made his initial appearance in
the Southern District of Florida. ECF Dkt. No. 12. At the initial appearance, the defendant
waived a detention hearing and was ordered to be transferred in custody to this district. Id.
(24−mj−08554−BER−2 , ECF Dkt. No. 9). On November 19, 2024, the defendant arrived in
district, and since that date, he has been held at the Metropolitan Detention Center (“MDC”). On
November 20, 2024, counsel for the defendant filed a motion requesting that the defendant’s
arraignment be scheduled for December 2, 2024 or December 3, 2024 (ECF Dkt. No. 39), and on
November 22, 2024, the Honorable Nusrat J. Choudhury, United States District Judge, granted
that motion.

                Since the defendant’s initial appearance, the parties have conferred regarding the
defendant’s proposed application to be released pending trial, and, at this time, the government
agrees that a bond with the below-listed conditions, in addition to the standard conditions, is
sufficient to overcome the presumption of detention, pursuant to 18 U.S.C. § 3142(e)(3)(D),
which applies in this case. The agreed-upon conditions are as follows:
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    1. A $10,000,000 bond, co-signed by six suretors, which are: Jeffries, Susan Jeffries, Diane
       Chang, Patrick Wiesel, Andrew Jeffries and Annabel Jeffries;

    2. Securing of the bond by three homes, which are unencumbered;1

    3. Home detention with GPS monitoring, with permission to leave for personal medical
       appointments, meetings with counsel and religious services, as well as to accompany
       Jeffries to medical appointments;

    4. The defendant’s completion of an affirmation of financial assets in which he attests to the
       entirety of assets held by himself and Jeffries;

    5. The defendant’s resignation as Trustee of the Michael S. Jeffries Revocable Trust (the
       “Jeffries Trust”);

    6. The defendant’s resignation as an authorized signer on Jeffries’ financial accounts;

    7. Agreement that the Jeffries Trust will operate with the following restrictions:

            o Outbound or withdrawal transactions are limited to $125,000 per month to cover
              all necessary overhead expenses;
            o No outgoing transactions to any bank or individual located outside of the United
              States;
            o In the event that the defendant and Jeffries require more than $125,000 per month
              for expenses, such withdrawal exceeding that amount must be approved by the
              government and the defendant will provide confirmation of such payment to the
              government;
            o The Trustee shall provide the government and its agents online access to all
              accounts for real-time verification of transactions; and
            o Any other terms necessary to ensure that these transaction limits are followed.2

    8. Counsel will surrender the defendant’s passport to Pretrial Services.

            For the reasons set forth in the government’s October 22, 2024 detention
memorandum, in conjunction with the above, the government respectfully submits that the Court




        1
                These are the homes of Susan Jeffries, located at
                    ; the home of Jeffries and the defendant, located at
                    ; and the home of Diane Chang, located at

        2
                  The parties agree that compliance with the conditions related to the Jeffries Trust and
Jeffries’ financial accounts will be monitored by the government, with the consent and cooperation of
counsel and the defendant, as Pretrial Services is unable to monitor such conditions.


                                                      2
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only release the defendant upon the execution of a substantial, secured bond, with stringent
conditions as outlined above and agreed by the parties.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:      /s/
                                                     Erin Reid
                                                     Megan E. Farrell
                                                     Philip Pilmar
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000


cc:    Clerk of the Court (NJC) (by ECF)
       Counsel of Record (by ECF)




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